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                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   NO. 3:16-CR-194
                                           :
              v.                           :   (JUDGE CAPUTO)
                                           :
FUHAI LI,                                  :   (ELECTRONICALLY FILED)
              Defendant                    :


                       GOVERNMENT’S MOTION IN LIMINE
                      TO ADMIT PATIENT MEDICAL RECORDS

      1.      On October 17, 2017, a federal grand jury returned a 32-count

Superseding Indictment charging the defendant, Fuhai Li (the defendant), with

various violations of federal law. Counts 1 through 23 charge violations of 21 U.S.C.

§ 841(a)(1), for the defendant’s distribution and dispensing of controlled substances

outside the usual course of professional practice and not for a legitimate medical

purpose. Count 24 charges a violation of 21 U.S.C. § 841(a)(1), for the defendant’s

distribution and dispensing of a controlled substance resulting in serious bodily

injury and death of a person. Count 25 charges a violation of 21 U.S.C. § 861(f), for

the defendant’s distribution and dispensing of a controlled substance to a pregnant

individual. Counts 26 and 27 charge violations of 21 U.S.C. § 856(a)(1), for the

defendant’s maintaining locations at 104 Bennett Avenue, Suite 1B, Milford,

Pennsylvania, and 200 3rd Street, Milford Pennsylvania, for the purpose of

unlawfully distributing controlled substances. Counts 28 and 29 charge violations of

18 U.S.C. § 1957, for the defendant’s engaging in monetary transactions in property
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derived from a specified unlawful activity. Counts 30 through 32 charge violations of

26 U.S.C. § 7201, for the defendant’s tax evasion. The 27-page Superseding

Indictment, which includes a detailed recitation of facts supporting the charges, also

includes a forfeiture allegation seeking forfeiture of various property and U.S.

Currency. (See MDPA 3-cr-16-194, Doc. 47). 1

      2.      The criminal charges stem from the defendant’s medical practice from

August 2011 through January 2015. During those years, the defendant treated

hundreds of patients who said they were suffering from pain. Notably, he treated the

vast majority of these patients by writing prescriptions for Schedule II controlled

substances. In discovery, the Government provided the defendant with the same

mirror image of his electronic medical files seized from his practice on January 27,

2015. A jury trial is scheduled to begin on May 1, 2018.

      3.      Counts 26 and 27 of the Superseding Indictment allege that the

defendant maintained drug-involved premises at two locations where he conducted

his medical practice in Milford, Pennsylvania. 2 The defendant’s treatment of all




      1   The defendant was first charged in a 24-count Indictment returned by a
federal grand jury on July 20, 2016. (See MDPA 3-cr-16-194, Doc. 1).

      2    Count 26 specifically identifies the defendant’s office address at 104
Bennett Avenue, Suite 1B, Milford, Pike County, Pennsylvania. Count 27 specifically
identifies the defendant’s office address at 200 3rd Avenue, Milford, Pike County,
Pennsylvania.

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patients, not only the ones specifically identified in Counts 1 through 25 of the

Superseding Indictment, is relevant evidence in addressing the crimes alleged in

Counts 26 and 27. Accordingly, the Government will introduce evidence in the form

of witness testimony from several former patients, as well as all medical files

reviewed by the Government’s expert medical witness, Dr. Stephen Thomas.

      4.      The Government’s has filed a separate Brief in Support of the within

Motion in Limine.

      WHEREFORE, the Government respectfully requests that the Court authorize

the admission of patient medical files.

                                          Respectfully submitted,

                                          DAVID J. FREED
                                          United States Attorney


                                 By:      /s/ Michelle L. Olshefski
                                          MICHELLE L. OLSHEFSKI
                                          Assistant U.S. Attorney

Dated: February 20, 2018




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UNITED STATES OF AMERICA                 :   NO. 3:16-CR-194
                                         :
            v.                           :   (JUDGE CAPUTO)
                                         :
FUHAI LI,                                :   (ELECTRONICALLY FILED)
            Defendant                    :



                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 20th February, 2018, I caused the

foregoing “Government’s Motion in Limine to Admit Patient Medical Files” to be

served upon defense counsel Michael Weinstein and William Ruzzo, counsel of record

for the defendant, and that defense counsel are filing users under the ECF system.



                                      /s/ Michelle L. Olshefski
                                      Michelle L. Olshefski
                                      Assistant U.S. Attorney




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